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                         UNITED STATES DISTRICT COURT                 JUDGE LEFKOI4/
                                                                                         -^+
                         NORTHERN DISTRICT OF ILLINOIS                         JUDGE GILBUU
                               EASTERN DIVISION                    MAGISTRAI;'

UNITED STATES OF AMERICA                       )   No.      15ffi                 105
                                               )
             v.                                )   Violations: Title 18 United States
                                               )   Code, Sections 287,641, and 1341
KRISTOPHER SMITH, aka                          )
"Neter Amen Ra El" and                         )
"Setian Beelzebub Bey''                        )         fl,flTmEffiSEALFILED
                                    COUNT ONE                               tuAR J(   4   Zafi   ()
      The SPECIAL SEPTEMBER 20t4 GRAND JURY charges:
                                                                     cLE#ffiffi#-HISB,^,
      1.     At times material to this Indictment:

             a.       The Internal Revenue Service was an agency of the United

States Department of the Treasury. For the tax years 2007,2008, and 2009, the IRS

provided that estates and trusts entitled to a refund of federal income taxes could

claim that refund by submitting a Form 1041 United States Income Tax Return for

Estates and Trusts.

             b.       On the Form 1041 return, the estate or trust was required to

provide the estate's or trust's name and address, the name and title of its fiduciary,

its Employer Identifrcation Number, its total income for the tax year, the amount of

federal income tax withheld during the tax year, the amount of federal income tax,

and the amount of tax due or refund claimed.

             c.       The IRS relied upon information from the Form L04l in
determining and            refunds. After receiving this information, the IRS issued a
                  lyiy
refund to the taxpayer by mail, among other methods,        if the trust or estate    was
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entitled to a refund and there were no outstanding tax liabilities or other federally

authorized deductions on record with the IRS.

      2.       Beginning no later than in or about February 20LO, and continuing

through at least in or about September 2013, at Calumet City, in the Northern

District of Illinois, Eastern Division, and elsewhere,

                               KRISTOPHER SMITH, aka
                                "Neter Amen Ra El" and
                                "Setian Beelzebub B"y,"

defendant herein, knowingly devised, intended to devise, and participated           in   a

scheme to defraud and to obtain money and property from the IRS by means of

materially false and fraudulent pretenses, representations, and promises as further

described below.

      3.       It   was part of the scheme that   in or about February   2OL0, defendant

obtained an Employer Identification Number from the IRS for the "Kristopher

Smith Trust," and caused himself to be listed as the trustee and fiduciary of that

purported trust. Defendant obtained EIN 27-646xxxx for the purported Kristopher

Smith Trust.

      4.       It   was further part of the scheme that     in or about March 2OI0,
defendant obtained a second EIN with the IRS for the "Kristopher Smith Trust,"

and caused himself to be listed as the trustee and fiduciary of that purported trust.

Defendant obtained EIN 27-650xxxx for the purported Kristopher Smith Trust.

      5.       It   was further part of the scheme that between no later than on or

about March 8, 2010, and continuing through at least January 3, 2011, defendant


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prepared and fiIed, and caused to be prepared and fi,led, with the IRS at least fifteen

materially false and fraudulent Form 1041 trust tax returns for the purported

Kristopher Smith Trust, using one of the EINs (27-646xxva< and 27-650xxxx) he had

previously obtained, for tax years 2007, 2008, and 2009. Each return included,

among other things, fictitious information relating to income, fees, exemptions, and

tax withholding for the trust. In this manner, defendant falsely and fraudulently

claimed tax refunds for the purported Kristopher Smith Trust in the amount of

approximately     $4, 104, 000.

      6.     It was further part of the scheme that on or about August 8, 2011,
defendant opened bank account xxxxxx5749            in the name of the purported
Kristopher Smith Trust (EIN 27-650xxxx), listing Kristopher Smith as trustee, at

Wells Fargo Bank.

      7.     It   was further part of the scheme that, as a result of one of the false

and fraudulent returns filed by the defendant, defendant caused the United States

Department of the Treasury to issue an income tax refund check, on or about

August 2, 2}1-I', in the amount of $314,871.15, in the name of Kristopher Smith,

Kristopher Smith TTEE. The refund check was issued as a result of a fraudulent

2009 Form 1041 trust tax return filed by defendant on or about March 23,2OL0.

      8.     It was further part of the scheme that         defendant endorsed and

deposited the tax refund check into Wells Fargo bank account xxxxxx5749, on or

about August 9, 2011.




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      9.     It was further part of the scheme thai   defend.ant used the proceed.s of

that fraudulently obtained. refund. check for his own personal use, including the
purchase ofreal estate and vehicles.

      10. It    was further part of the scheme that defendant misrepresented,

concealed, and hid the acts done in furtherance of his scheme to defraud.

      11.    On or about March 23, 2010, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                             KRISTOPHER SMITH, aka
                              "Neter Amen Ra El" and
                              "Setian Beelzebub Bey,"

defendant herein, for the purpose of executing the above-described scheme and

attempting to do so, did knowingly cause to be placed in an authorized depository

for mail matter, to be sent and delivered by the United States Postal Service
according to the directions thereon, an envelope containing a Form 1041 United

States Income Tax Return for Estates and Trusts          in the name of taxpayer
Kristopher Smith Trust for tax year 2009, which envelope was addressed to:

             Internal Revenue Submission Process Center
             201 West River Center Blvd
             Covington, KY 41011

      In violation of Title 18, United States Code, Section 134L.
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                                    COUNT TVYO

      The SPECIAL SEPTEMBER 2Ol4 GRAND JURY further charges:

      1.     Paragraphs 1 through 10 ofCount One are incorporated here.

      2.     On or about January 3, 20t1, at Calumet City, in the Northern District

of lllinois, Eastern Division, and elsewhere,

                             KRISTOPHER SMITH, aka
                              "Neter Amen Ra Ell' and
                              "Setian Beelzebub B"y,"

defendant herein, for the purpose of executing the above-described scheme and

attempting to do so, did knowinglV cause to be placed in an authorized depository

for mail matter, to be sent and delivered by the United States Postal Service
according to the directions thereon, an envelope containing a Form 1041 United

States Income Tax Return for Estates and Trusts          in the name of taxpayer
Kristopher Smith Trust for tax yeat 2O07, which envelope was addressed to:

             Department of the Treasury
             Internal Revenue Service,
             Cincinnati, OH 45999-0048

      In violation of Tit1e 18, United States Code, Section L34I.




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                        COUNTS THREE THROUqH TEN

      The SPECIAL SEPTEMBER 20L4 GRAND JURY further charges:

      1.     Paragraph   1   of Count One is incorporated here.

      2.     On or about the dates set forth below, each such date constituting a

separate count of   this Indictment, at Calumet City, in the Northern District of
Illinois, Eastern Division, and elsewhere,

                               KRISTOPHER SMITH, aka
                                "Neter Amen Ra E]l' and
                                "Setian Beelzebub B"y,"

defendant herein, made, presented, and caused to be presented to the IRS, an

agency of the United States, a claim upon and against the IRS, that is, a tax return

as set forth below, knowing that the claim was false, fictitious, and fraudulent, in

that the return falsely indicated that the taxpayer was entitled to a refund in the

amount set forth:

Count Date                    Tax Return                          Refund Claimed
3       March 8, 2010         2007 Form 1041 U.S. Income Tax      $300,000
                              Return for Estates and Trusts in
                              the name of taxpayer Kristopher
                              Smith Trust
4       March 8, 2010         2008 Form 1041 U.S. Income Tax      $300,000
                              Return for Estates and Trusts in
                              the name of taxpayer Kristopher
                              Smith Trust
5       March 8, 2010         2009 Form 1041 U.S. Income Tax      $300,000
                              Return for Estates and Trusts in
                              the name of taxpayer Kristopher
                              Smith Trust




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6        March 23,2010      2007 Form 1041 U.S. Income Tax         $300,000
                            Return for Estates and Trusts in
                            the name of taxpayer Kristopher
                            Smith Trust
7        March 23,2010      2008 Form 1041 U.S. Income Tax         $300,000
                            Return for Estates and Trusts in
                            the name of taxpayer Kristopher
                            Smith Trust
8        March 23,2010      2009 Form 1041 U.S. Income Tax         $300,000
                            Return for Estates and Trusts in
                            the name of taxpayer Kristopher
                            Smith Trust
I        JuIy 30, 2010      2009 Form 1041 U.S. Income Tax         $300,000
                            Return for Estates and Trusts in
                            the name of taxpayer Kristopher
                           Smith Trust
10       January 3, 2011   2007 Form 1041 U.S. Income Tax $125,000
                           Return for Estates and Trusts in
                           the name of taxpayer Kristopher
                           Smith Trust


      In violation of Title 18, United States Code, Section 287.
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                                   COUNT ELEVEN

      The SPECIAL SEPTEMBER 20t4 GRAND JURY further charges:

      1.    Paragraph   1   of Count One is incorporated. here.

      2.    On or about August        9,   z(ii.li.,   in the Northern District of Illinois,
Eastern Division, and elsewhere,

                              KRISTOPHER SMITH, aka
                               "Neter Amen Ra El" and
                               "Setian Beelzebub B"y,"

defendant herein, stole, purloined, and knowingly converted to his own use money

of the United States, namely, approximately $314,871.15 in funds administered by

the IRS in the form of a federal income tax refund issued to "Kristopher Smith,

Kristopher Smith TTE," which funds defendant was not entitled to receive;

      In violation of Title 18, United States Code, Section 641.




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                           FORFEITURE ALLEGATION

       The SPECIAL SEPTEMBER 2014 GRAND JURY further charges:

       1.    Upon conviction of an offense in violation of Title 18, United States

Code, Sections 287, 64L,   or 1341, as set forth in this Indictment, defendant shall
forfeit to the United States of America any property which constitutes and is
derived from proceeds traceable to the offense, as provided        in Title 18, United
States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2a6l@).

       2.    The property to be forfeited includes, but is not limited to:

             a.     a personal money judgment in the amount of $314,871.15; and

             b.     the following specific property:

                           approximately $172,500 seized by law enforcement on
                           August 21, 2013, from TCF Bank checking account
                           number xxxxxx0501; and

                  ii.      the real property commonly known as 609 Sullivan Lane,
                           University Park, Illinois, legally described as follows:

                           LOT 13 IN BLOCK 2 IN PARK FOREST SOUTH UNIT
                           NUMBER 3, BEING A SUBDIVISION OF PART OF THE
                           NORTH HALF OF SECTION 13, TOWNSHIP 34
                           NORTH, RANGE 13 EAST OF THE THIRD PRINCIPAL
                           MERIDIAN, ACCORDING TO THE PLAT THEREOF
                           RECORDED MARCH 1, 1971, AS DOCUMENT
                           NUMBER R71-4101, IN WILL COUNTY, ILLINOIS.

                           PIN: 21-1 4-13-210-046-0000

      3.     If any of the property    described above, as    a result of any act   or

omission by defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond.

the jurisdiction of the Court; has been substantially diminished in value; or has
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been commingled    with other property which cannot be divided without diffrculty,
the United States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United States Code, Section 853(p).



                                                     A TRUE BILL:



                                                     FOREPERSON


UNITED STATES ATTORNEY




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